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R.J. Shannon

From:                  R.J. Shannon
Sent:                  Wednesday, May 11, 2022 12:52 PM
To:                    rchapple@cstrial.com; rww@bymanlaw.com
Cc:                    Kyung Lee; Adam Rodriguez
Subject:               InfoW, LLC - Proposed Stipulation Resolving Disputes [Subject to FRE 408]
Attachments:           IW - Draft Stipulation re Conn Plaintiffs 4869-8126-8255 v.1.docx


[Subject to FRE 408]

Ryan and Randy,

We have discussed the possibility of resolving the Debtors’ various disputes with the Texas Plaintiffs through a
stipulation confirming that the Texas Plaintiffs will not assert claims against the Debtors and the Debtors will not oppose
remand of the state court litigation. We would like to make the same proposal to the Connecticut Plaintiffs. The issue we
have with the dismissals in both sets of cases is that they purport to be without prejudice so that the Plaintiffs could
potentially still assert claims against the Debtors/their estates.

Attached is a draft stipulation that we believe would resolve all the disputes between the parties without having to deal
separately in each adversary proceeding or incur unnecessary expense in the bankruptcy case. It is identical to what we
proposed to the Texas Plaintiffs with different names and a couple non‐substantive nits. The Texas Plaintiffs have not yet
agreed to this, but appeared to be open to the concept.

Our understanding is that the primary concern of both sets of Plaintiffs is that Jones and FSS might later try to claim that
something was property of one of the Debtors when the stipulation was entered. To protect your clients against that,
the draft stipulation provides that the Connecticut Plaintiffs are relying on the assets disclosed in the schedules and
made the non‐existence of any material undisclosed assets an express requirement for the release to be effective.
Jones/FSS would have nothing to gain from playing that game.

Please let us know your thoughts and any comments on the Stipulation. We sent the draft for the Texas Plaintiffs to Max
Beatty (max@beattypc.com) and Avi Moshenberg (avi.moshenberg@mhllp.com) about an hour ago.

Thanks,
R. J.

R. J. Shannon
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

 In re:                                                  )
                                                              Case No. 22-60020
                                                         )
 INFOW, LLC, et al.,                                     )    Chapter 11 (Subchapter V)
                                                         )
               Debtors.1                                 )    Jointly Administered
                                                         )

                                      STIPULATION AND ORDER

          The above-captioned debtors and debtors in possession (collectively, the “Debtors”) and

David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole Hockley, Ian

Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino,

William Aldenberg, William Sherlach, and Robert Parker (collectively, the “Connecticut

Plaintiffs” and together with the Debtors, the “Parties”) hereby enter into this stipulation (the

“Stipulation”) and agree as follows:

          WHEREAS, on April 18, 2022 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under subchapter v of chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”) in the United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy

Court”);

          WHEREAS, prior to the Petition Date, the Connecticut Plaintiffs commenced state-court

actions against one or more of the Debtors styled as: (a) Lafferty et al. v Jones et al., Docket No.

UWY-CV18-6046436-S, in the Connecticut Superior Court; (b) Sherlach et al. v. Jones et al.,

Docket No. UWY-CV18-6046437-S, in the Connecticut Superior Court; and (c) Sherlach v. Jones



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  The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax identification
number are as follows: InfoW, LLC, f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a Infowars Health, LLC (no
EIN), Prison Planet TV, LLC (0005). The address for service to the Debtors is PO Box 1819, Houston, TX 77251-
1819.
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et al., Docket No. UWY-CV18-6046438-S, in the Connecticut Superior Court (collectively, as

may have been consolidated, the “State Court Litigation”);

       WHEREAS, one or more of the Debtors removed or attempted to remove the lawsuits

comprising the State Court Litigation to the U.S. Bankruptcy Court for the District of Connecticut

(the “Removal Court”);

       WHEREAS, the Connecticut Plaintiffs filed Connecticut Plaintiffs’ Emergency Motion to

Dismiss Chapter 11 Cases and Objection to Debtors’ Designation as Subchapter V Small Vendors

[ECF No. 36] (the “Motion to Dismiss”) with the U.S. Bankruptcy Court for the Southern District

of Texas on April 26, 2022 (the “Motion to Dismiss”);

       WHEREAS, the Debtors filed their respective Schedules of Assets and Liabilities on May

2, 2022 [ECF Nos. 59 through 78] (collectively, the “Schedules”) indicating that the Debtors have

de minimis assets other than (a) domain names, trademarks, copyrights, and intellectual property

rights associated with websites; (b) royalty payments related to Youngevity; (c) causes of action

for malpractice for their prepetition attorneys; and (d) rights to payments from Alex Jones (“AEJ”)

and Free Speech Systems, LLC (“FSS”) for administrative expenses and satisfaction of claims

under the Plan Support Agreement [ECF Nos. 6-3 and 48-2] (the “PSA”) and Declaration of Trust

for the 2022 Litigation Settlement Trust [ECF Nos. 6-2 and 48-1] (the “Declaration of Trust”);

       WHEREAS, after investigation by the Debtors’ Chief Restructuring Officer and

professionals, the Debtors do not believe that the Debtors have any assets other than those reflected

in the Schedules, PSA, and/or Declaration of Trust;

       WHEREAS, relying on the veracity of the Schedules and disclosure of the PSA and

Declaration of Trust, the Connecticut Plaintiffs no longer wish to be creditors of the Debtors or

otherwise participate in the Debtors’ bankruptcy cases;



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       NOW, THEREFORE, IT IS STIPULATED BY THE PARTIES AND, UPON

APPROVAL BY THE BANKRUPTCY COURT, ORDERED THAT:

       1.      Release of Claims Against the Debtors. Subject to Paragraph 2 of this Stipulation,

each of the Connecticut Plaintiffs hereby releases the Debtors and their respective bankruptcy

estates from any and all claims, causes of action, equitable remedies, or rights to payment, existing

on the date the Parties executed this Stipulation. For the avoidance of doubt, the Connecticut

Plaintiffs each release any and all claims or rights to payment for sanctions against the Debtors or

their bankruptcy estates to the fullest extent allowable under applicable nonbankruptcy law and

shall not seek the imposition or collection of any sanctions awarded against the Debtors or their

bankruptcy estates for acts occuring prior to the date the Parties entered into this Stipulation. The

Connecticut Plaintiffs and the Debtors shall cooperate to provide for the dismissal with prejudice

of the Debtors from each of the actions comprising the State Court Litigation.

       2.      Limitations on Release. The release of the Debtors by the Connecticut Plaintiffs

contained in this Stipulation shall not be effective to the extent that the Debtors hold material

undisclosed assets on the date that the Parties entered into this Stipulation that is property of the

Debtors’ bankruptcy estates under 11 U.S.C. §§ 541 or 1115. The Debtors’ disclosed assets

comprise: (a) those assets reflected in the Schedules and (b) funds contemplated to be paid under

the PSA or Declaration of Trust, irrespective of whether the PSA or Declaration of Trust

contemplated such funds to be paid to the Debtors, their estates, or the 2022 Litigation Settlement

Trust. To the extent that the Connecticut Plaintiffs assert that the Debtors or their estates owned

material undisclosed assets on the date of this Stipulation and seek to assert claims against the

Debtors that would otherwise be released, the Connecticut Plaintiffs shall file a motion with the




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Bankruptcy Court seeking an order determining that the releases contemplated by this Stipulation

have no force and effect.

       3.      Withdrawal of the Motion to Dismiss. The Connecticut Plaintiffs’ hereby withdraw

their Motion to Dismiss without prejudice to refiling if the Bankruptcy Court does not approve this

Stipulation. Upon approval of the Stipulation, the withdrawal shall be with prejudice.

       4.      Withdrawal of Opposition to Remand. Upon approval of this Stipulation, the

Connecticut Plaintiffs may file a pleading or other document, to be approved by the Debtors, which

approval shall not be unreasonably withheld, with the Removal Court notifying the Removal Court

of this Stipulation and that the Debtors do not oppose remand. At the Connecticut Plaintiffs’

request, the Debtors shall join in the Connecticut Plaintiffs’ filing or take other reasonable steps to

inform the Removal Court that the Debtors do not oppose remand.

       5.      Non-Applicability of Automatic Stay and/or Releases to Non-Debtor Parties. For

the avoidance of doubt, (a) the automatic stay pursuant to section 362 of the Bankruptcy Code

does not prohibit the continuation of the State Court Litigation against any person other than the

Debtors; and (b) the release of the Debtors by the Connecticut Plaintiffs in this Stipulation shall

not release any claims, causes of actions, or other rights against any person other than the Debtors.

       6.      Subject to Bankruptcy Court Approval. This Stipulation shall be immediately

binding on the Parties and subject only to the approval of the Bankruptcy Court. To the extent that

the Bankruptcy Court denies approval of this Stipulation, the Stipulation and the releases and

mutual obligations contained herein shall be of no further force and effect.

       7.      Retention of Jurisdiction. The Court shall have and retain (a) with respect to any

dispute among only the Parties, sole and exclusive jurisdiction over the enforcement of the terms

of this Stipulation as well as with respect to all matters arising from or related to the



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implementation and/or interpretation of this Stipulation and (b) with respect to any dispute

involving any other person, including any of the Parties and AEJ and/or FSS, non-exclusive

jurisdiction over the enforcement of the terms of this Stipulation as well as with respect to all

matters arising from or related to the implementation and/or interpretation of this Stipulation. The

Parties hereby consent to such jurisdiction to resolve any disputes or controversies arising from or

related to this Stipulation. Any motion or application brought before the Court to resolve a dispute

arising from or related to this Stipulation shall be brought on notice as provided by and in

accordance with the Federal Rules of Bankruptcy Procedure and the Local Bankruptcy Rules for

the Southern District of Texas.

       8.      Modification of Stipulation. This Stipulation shall not be modified, altered,

amended, or vacated without written consent of all Parties hereto.


Dated: ____________, 2022
                                              ________________________________________
                                              UNITED STATES BANKRUPTCY JUDGE




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 STIPULATED AND AGREED ON MAY ___, 2022 BY AND AMONG:

 DAVID WHEELER, FRANCINE WHEELER, JACQUELINE BARDEN,
 MARK BARDEN, NICOLE HOCKLEY, IAN HOCKLEY,
 JENNIFER HENSEL, DONNA SOTO, CARLEE SOTO PARISI,
 CARLOS M. SOTO, JILLIAN SOTO-MARINO, WILLIAM ALDENBERG,
 WILLIAM SHERLACH, AND ROBERT PARKER

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Counsel to the Connecticut Plaintiffs

-and-

INFOW, LLC (F/K/A INFOWARS, LLC), IWHEALTH, LLC
(F/K/A INFOWARS HEALTH, LLC), AND PRISON PLANET TV, LLC

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